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 8
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10                                UNITED STATES DISTRICT COURT

11                                      DISTRICT OF NEVADA

12     MARINA DISTRICT DEVELOPMENT                      Case No.: 2:20-cv-01592-GMN-BNW
       COMPANY, LLC d/b/a BORGATA HOTEL
13     CASINO & SPA, a New Jersey limited
       liability company,                               STIPULATION AND ORDER TO SEVER
14
                     Plaintiff,                         CERTAIN CLAIMS AND TRANSFER TO
15                                                       THE U.S. DISTRICT COURT FOR THE
              v.                                             DISTRICT OF NEW JERSEY
16
       AC OCEAN WALK, LLC d/b/a OCEAN
17     CASINO RESORT, a New Jersey liability
       company; WILLIAM CALLAHAN, an
18     individual; and KELLY ASHMAN BURKE,
       an individual,
19
                     Defendants.
20
             WHEREAS, Plaintiff Marina District Development Company, LLC (“Borgata”) filed the
21
      above-captioned action against Defendants AC Ocean Walk, LLC d/b/a Ocean Casino Resort
22
      (“Ocean”), William Callahan, and Kelly Ashman Burke on August 27, 2020;
23
             WHEREAS, on September 6, 2020, Ocean moved to dismiss for lack of personal
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      jurisdiction and improper venue, a motion on which the Court has not yet ruled (the “Motion to
25
      Dismiss”);
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 1           WHEREAS, on October 7, 2020, the Court compelled arbitration with respect to certain of

 2    Borgata’s claims against Callahan and Burke and stayed the claims with respect to Callahan and

 3    Burke, so only Borgata’s claims against Ocean remain active in this Court subject to the pending

 4    Motion to Dismiss;

 5           WHEREAS, for the convenience of the parties and in the interest of justice the parties agree

 6    that Borgata’s claims against Ocean should be severed and transferred to the District of New Jersey,




                                                                                                         -
 7    a district where the action, as to Ocean, may have been properly brought;

 8           WHEREAS, the parties reserve all rights upon severance and transfer;

 9           WHEREAS, Ocean reserves all its rights to maintain its pending Motions in the District of

10    New Jersey, including Ocean’s pending Motion to Dismiss under Federal Rule of Civil Procedure

11    12(b)(6), which will be transferred to the District of New Jersey;

12           NOW THEREFORE, THE PARTIES STIPULATE that Borgata’s claims against Ocean be

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 1    severed under Federal Rule of Civil Procedure 21 and transferred to the U.S. District Court for the

 2    District of New Jersey under 28 U.S.C. § 1404(a) and/or 28 U.S.C. § 1406(a).

 3           Dated: November 4, 2020

 4     JACKSON LEWIS P.C.                                   BLANK ROME LLP

 5     /s/ Paul T. Trimmer                                  /s/ Leigh Ann Buziak
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12
                                                            Attorneys for Defendants
13                                                          AC Ocean Walk, LLC, William Callahan,
                                                            and Kelly Ashman Burke
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15                                                 ORDER
16           Good cause appearing, the Court orders as follows:
17           1.      Pursuant to Federal Rule of Civil Procedure 21, Plaintiff’s claims against Defendant
18    AC Ocean Walk, LLC are severed from Plaintiff’s claims against William Callahan and Kelly
19    Ashman Burke; and
20           2.      Pursuant to 28 U.S.C. § 1404(a), for the convenience of the parties and in the
21    interests of justice, Plaintiff’s claims against Defendant AC Ocean Walk, LLC are transferred to
22    the U.S. District Court for the District of New Jersey.
23        IT IS SO ORDERED.
24                                                              Dated this __
                                                                            6 day of November, 2020.
          As this case has already been stayed with
25        respect to the remaining Defendants,
          (See Mins. Proceedings, ECF No. 91),
26        IT IS FURTHER ORDERED that
          Defendants' Motion to Stay Case, (ECF
27                                                              ________________________________
          No. 102), is DENIED as moot.
                                                                Gloria M. Navarro, District Judge
28                                                              UNITED STATES DISTRICT COURT

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